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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE


 CAREDX, INC.

       and                                              C.A. No. _________________

 THE BOARD OF TRUSTEES OF THE
 LELAND STANFORD JUNIOR                                 JURY TRIAL DEMANDED
 UNIVERSITY,

                 Plaintiffs

         v.

 NATERA, INC.,

                 Defendant.


                                           COMPLAINT

       Plaintiffs CareDx, Inc. (“CareDx”) and The Board Of Trustees Of The Leland Stanford

Junior University (“Stanford,” and collectively with CareDx “Plaintiffs”), for their complaint

against Defendant Natera, Inc. (“Natera”), hereby allege as follows:

                                   NATURE OF THE ACTION

       1.      Years ago, researchers at Stanford University invented a method for determining

organ transplant rejection. It allowed doctors to assess rejection through blood tests and without

invasive biopsies. This method is intended to saves lives, minimize patient pain and stress, and

cuts the healthcare costs of treating transplant patients.

       2.      Stanford University secured the patents to its researchers’ invention and licensed

the patents exclusively to CareDx. CareDx then brought this invention out of the lab and into the

clinical setting, helping leading transplant centers around the country treat patients. CareDx has

worked hard on this effort, investing substantially to make this technology widely available.
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       3.        Now, years after Stanford researchers and CareDx put in the research and

development work to invent this new method and bring it to the clinical setting, Natera uses

CareDx’s licensed technology without permission in violation of the patent laws. Natera must be

held accountable.

       4.        Accordingly, this is an action for patent infringement arising under the patent laws

of the United States, Title 35, United States Code, against Defendant Natera.

       5.        CareDx brings this action to halt Natera’s infringement of CareDx’s rights under

the Patent Laws of the United States 35 U.S.C. § 1, et seq., which arise under U.S. Patent Nos.

9,845,497 (“the ’497 patent”) (attached as Exhibit 1) and 8,703,652 (“the ’652 patent”) (attached

as Exhibit 2).

                                             PARTIES

       6.        CareDx is a corporation organized and existing under the laws of the state of

Delaware, having its principal place of business at 3260 Bayshore Blvd., Brisbane, CA 94005.

       7.        CareDx was formed in 1998 by pioneers in molecular diagnostics. Since its

inception, CareDx has focused its expertise on the discovery, development and commercialization

of clinically differentiated, high-value solutions for organ transplant recipients. It was the first

company to develop and commercialize non-invasive transplant surveillance testing to monitor

transplant recipients’ immune status with the aim to improve long-term patient outcomes.

       8.        Today, CareDx markets and sells AlloSure® (“AlloSure”).              AlloSure uses

advanced DNA sequencing methods to quantify donor-derived cell-free DNA (dd-cfDNA) in

transplant recipients without having to conduct separate genotyping. Measuring dd-cfDNA in a

transplant recipient’s blood enables early detection of kidney transplant rejection and facilitates

personalized immunosuppressive treatment. AlloSure has helped numerous nephrologists manage

their patients’ post-transplant care, while avoiding the high costs and added risks of renal biopsies.
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          9.    Stanford is a trust possessing corporate powers that is organized under the laws of

California, with a principal place of business at the Office of the President, Building 10 Main

Quad, Stanford, California 94305. Stanford is the patent owner and licensor for the ’497 and ’652

patents and is joined in the infringement action for these patents because it is a necessary party.

          10.   On information and belief, Natera is a corporation organized and existing under the

laws of the state of Delaware, having its principal place of business at 201 Industrial Road, Suite

410, San Carlos, CA 94070. Natera markets and sells a Kidney Transplant Rejection Test, also

described as an “organ transplant rejection assay” and “allograft rejection” test, which it performs

at its CLIA-certified laboratory in San Carlos, CA. Exhibit 3.

                                 JURISDICTION AND VENUE

          11.   This action arises under the patent laws of the United States, 35 U.S.C. §§ 100, et

seq., and this Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331,

1338(a), 2201 and 2202.

          12.   Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b).

          13.   This Court has jurisdiction over Natera because Natera is a Delaware corporation.

          14.   This Court also has jurisdiction over Natera because, upon information and belief,

Natera, directly or indirectly, uses, offers for sale, and/or sells the Kidney Transplant Rejection

Test throughout the United States and in this judicial district.

                                         BACKGROUND

          15.   Plaintiffs repeat and re-allege the foregoing paragraphs as if set forth specifically

herein.

          16.   On information and belief, in the mid-2018 time frame Natera began preparing to

develop and commercialize a Kidney Transplant Rejection Test. According to a Natera press



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release, “Natera's organ transplant rejection assay is designed to detect active allograft rejection in

patients who have undergone renal (kidney) transplantation. The assay works by measuring the

fraction of donor-derived cell-free DNA (dd-cfDNA) in the recipient's blood, which can spike

relative to background cfDNA when the transplanted organ is injured due to immune rejection.

The assay leverages Natera's core single nucleotide polymorphism (SNP)-based massively

multiplexed PCR (mmPCR) technology, to more accurately measure dd-cfDNA levels without the

need for donor genotyping, and it has been clinically validated for test performance independent

of donor type, rejection type, and clinical presentation.” Exhibit 3.

       17.     On December 5, 2018, scientists affiliated with Natera listed a clinical trial titled,

“Utility of a Novel Dd-cfDNA Test to Detect Injury in Renal Post-Transplant Patients” on the

National Institute of Health (NIH) website: clinicaltrials.gov. Exhibit 4. The clinical trial listing

states that the intervention/treatment is a diagnostic test called “Natera KidneyScan” and describes

the test as “Natera’s novel SNP-based mmPCR-NGS test that measures dd-cfDNA” in a transplant

recipients’ blood to diagnose kidney transplant rejection.

       18.     On December 23, 2018, scientists affiliated with Natera published an article

entitled, “Optimizing Detection of Kidney Transplant Injury by Assessment of Donor-Derived

Cell-Free DNA Via Massively Multiplex PCR” (attached hereto as Exhibit 5) in the Journal of

Clinical Medicine. On information and belief, this article describes the methodology of Natera’s

Kidney Transplant Rejection Test. Natera’s January 7, 2019 press release confirms that the

purpose of the study was to clinically validate the Kidney Transplant Rejection Test methodology:

a “donor-derived cell-free DNA (dd-cfDNA) test for active allograft rejection in kidney transplant

recipients” which uses “Natera's core single nucleotide polymorphism (SNP)-based massively

multiplexed PCR (mmPCR) technology.” Exhibit 6.



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       19.      On February 1, 2019, Natera publicly announced a partnership to begin distributing

“Natera's kidney transplant rejection test in the United States in collaboration with the company's

direct sales team.” Exhibit 3. As Natera’s CEO explained, the partnership would permit it to

“accelerate” Natera’s entry into the market. Id.

       20.      Natera infringes, literally or under the doctrine of equivalents, the ’497 patent

through its activities connected to its performance of the Kidney Transplant Rejection Test and all

variants of the Kidney Transplant Rejection Test. For instance, representative Claim 1 of the ’497

patent is listed below:

           1. A method of detecting donor-specific circulating cell-free nucleic acids in a
       solid organ transplant recipient, the method comprising:
             (a) genotyping a solid organ transplant donor to obtain a single nucleotide
                 polymorphism (SNP) profile of the solid organ transplant donor;
             (b) genotyping a solid organ transplant recipient to obtain a SNP profile of the
                 solid organ transplant recipient, wherein the solid organ transplant
                 recipient is selected from the group consisting of: a kidney transplant, a
                 heart transplant, a liver transplant, a pancreas transplant, a lung transplant,
                 a skin transplant, and any combination thereof;
             (c) obtaining a biological sample from the solid organ transplant recipient after
                 the solid organ transplant recipient has received the solid organ transplant
                 from the solid organ transplant donor, wherein the biological sample is
                 selected from the group consisting of blood, serum and plasma, and
                 wherein the biological sample comprises circulating cell-free nucleic acids
                 from the solid organ transplant; and
             (d) determining an amount of donor-specific circulating cell-free nucleic acids
                 from the solid organ transplant in the biological sample by detecting a
                 homozygous or a heterozygous SNP within the donor-specific circulating
                 cell-free nucleic acids from the solid organ transplant in at least one assay,
                 wherein the at least one assay comprises high-throughput sequencing or
                 digital polymerase chain reaction (dPCR), and wherein the at least one
                 assay detects the donor-specific circulating cell-free nucleic acids from the
                 solid organ transplant when the donor-specific circulating cell-free nucleic
                 acids make up at least 0.03% of the total circulating cell-free nucleic acids
                 in the biological sample.




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       21.      Performance of Natera’s Kidney Transplant Rejection Test and all variants thereof

leads to infringement of this claim in the following way. First, a plasma sample containing cell-

free DNA (cfDNA) from a kidney transplant recipient (post-transplant) is genotyped to obtain a

SNP profile. This involves three steps: (i) cfDNA is extracted from the recipient’s plasma sample,

(ii) cfDNA is amplified via massively multiplex PCR (mmPCR), and (iii) the amplified SNPs are

then subject to next generation sequencing (NGS). Finally, the amount of donor-derived cfDNA

(dd-cfDNA) in the post-transplant recipient’s plasma is determined by detecting a homozygous or

a heterozygous SNP within the donor-specific circulating cell-free nucleic acids. See Exhibit 5;

Exhibit 6.

       22.      As an example, attached hereto as Exhibit 7 is a preliminary and exemplary claim

chart detailing Natera’s infringement of multiple claims of the ’497 patent. This chart is not

intended to limit Plaintiffs’ right to modify this chart or any other claim chart or allege that other

activities of Natera infringe the identified claims or any other claims of the ’497 patent or any other

patents.

       23.      Natera infringes, literally or under the doctrine of equivalents, the ’652 patent

through its activities connected to its performance of the Kidney Transplant Rejection Test and all

variants thereof. For instance, representative Claim 1 of the ’652 patent is listed below:

           1. A method for detecting transplant rejection, graft dysfunction, or organ
       failure, the method comprising:
             (a) providing a sample comprising cell-free nucleic acids from a subject who
                 has received a transplant from a donor;
             (b) obtaining a genotype of donor-specific polymorphisms or a genotype of
                 subject-specific polymorphisms, or obtaining both a genotype of donor-
                 specific polymorphisms and subject-specific polymorphisms, to establish
                 a polymorphism profile for detecting donor cell-free nucleic acids, wherein
                 at least one single nucleotide polymorphism (SNP) is homozygous for the
                 subject if the genotype comprises subject-specific polymorphisms
                 comprising SNPs;


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                (c) multiplex sequencing of the cell-free nucleic acids in the sample followed
                    by analysis of the sequencing results using the polymorphism profile to
                    detect donor cell-free nucleic acids and subject cell-free nucleic acids; and
                (d) diagnosing, predicting, or monitoring a transplant status or outcome of the
                    subject who has received the transplant by determining a quantity of the
                    donor cell-free nucleic acids based on the detection of the donor cell-free
                    nucleic acids and subject cell-free nucleic acids by the multiplexed
                    sequencing, wherein an increase in the quantity of the donor cell-free
                    nucleic acids over time is indicative of transplant rejection, graft
                    dysfunction or organ failure, and wherein sensitivity of the method is
                    greater than 56% compared to sensitivity of current surveillance methods
                    for cardiac allograft vasculopathy (CAV).

          24.      Performance of Natera’s Kidney Transplant Rejection Test and all variants thereof

leads to infringement of this claim in the following way. First, a plasma sample containing cell-

free DNA (cfDNA) from a kidney transplant recipient (post-transplant) is genotyped to obtain a

SNP profile. This involves three steps: (i) cfDNA is extracted from the recipient’s plasma sample,

(ii) cfDNA is amplified via massively multiplex PCR (mmPCR), and (iii) the amplified SNPs are

then subject to next generation sequencing (NGS). Finally, a quantity of donor-derived cfDNA

(dd-cfDNA) in the post-transplant recipient’s plasma is determined. Active rejection (AR) can be

detected with at least 89% sensitivity. See Exhibit 5; Exhibit 6.

          25.      As an example, attached hereto as Exhibit 8 is a preliminary and exemplary claim

chart detailing Natera’s infringement of multiple claims of the ’652 patent. This chart is not

intended to limit Plaintiffs’ right to modify this chart or any other claim chart or allege that other

activities of Natera infringe the identified claims or any other claims of the ’652 patent or any other

patents.

                                                COUNT I
                              (Infringement of U.S. Patent No. 9,845,497)
          26.      Plaintiffs repeat and re-allege the foregoing paragraphs as if set forth specifically

herein.


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          27.   On December 19, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,845,497 (the “’497 patent”), entitled “Non-Invasive Diagnosis of

Graft Rejection in Organ Transplant Patients.”

          28.   Stephen R. Quake, Ph.D., Thomas M. Snyder, Ph.D., and Hannah Valantine, M.D.

are the sole and true inventors of the ’497 patent. By operation of law and as a result of written

assignment agreements, Stanford obtained the entire right, title, and interest to and in the ’497

patent.

          29.   Pursuant to license agreements with Stanford, CareDx obtained an exclusive

license to the ’497 patent in the field of non-invasive monitoring of organ transplant rejection

through cell-free DNA analysis.

          30.   On information and belief, Natera has infringed and continues to infringe the ’497

patent pursuant to 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by performing

within the United States without authority the Kidney Transplant Rejection Test. As an example,

attached as Exhibit 7 is a preliminary and exemplary claim chart detailing Natera’s infringement

of the ’497 patent. This chart is not intended to limit Plaintiffs’ right to modify the chart or allege

that other activities of Natera infringe the identified claims or any other claims of the ’497 patent

or any other patents.

          31.   Exhibit 7 is hereby incorporated by reference in its entirety. Each claim element in

Exhibit 7 that is mapped to the Kidney Transplant Rejection Test shall be considered an allegation

within the meaning of the Federal Rules of Civil Procedure and therefore a response to each

allegation is required.




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                                             COUNT II
                           (Infringement of U.S. Patent No. 8,703,652)
          32.   Plaintiffs repeat and re-allege the foregoing paragraphs as if set forth specifically

herein.

          33.   On April 22, 2014, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 8,703,652, entitled “Non-Invasive Diagnosis of Graft Rejection in Organ

Transplant Patients.”

          34.   Stephen R. Quake, Ph.D., Thomas M. Snyder, Ph.D., and Hannah Valantine, M.D.

are the sole and true inventors of the ’652 patent. By operation of law and as a result of written

assignment agreements, Stanford obtained the entire right, title, and interest to and in the ’652

patent.

          35.   Pursuant to license agreements with Stanford, CareDx obtained an exclusive

license to the ’652 patent in the field of non-invasive monitoring of organ transplant rejection

through cell-free DNA analysis.

          36.   On information and belief, Natera has infringed and continues to infringe the ’652

patent pursuant to 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, by performing

within the United States without authority the Kidney Transplant Rejection Test. As an example,

attached as Exhibit 8 is a preliminary and exemplary claim chart detailing Natera’s infringement

of these claims of the ’652 patent. This chart is not intended to limit Plaintiffs’ right to modify the

chart or allege that other activities of Natera infringe the identified claims or any other claims of

the ’652 patent or any other patents.

          37.   Exhibit 8 is hereby incorporated by reference in its entirety. Each claim element in

Exhibit 8 that is mapped to Natera’s Kidney Transplant Rejection Test shall be considered an




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allegation within the meaning of the Federal Rules of Civil Procedure and therefore a response to

each allegation is required.

                                         JURY DEMAND

       38.     CareDx and Stanford demand a jury trial on all issues so triable.

                                     PRAYER FOR RELIEF

       WHEREFORE, CareDx and Stanford pray that this Court grant the following relief:

               A.      A judgment that Natera has infringed the ’497 patent and/or the ’652 patent

and that the ’497 patent and/or the ’652 patent are valid.

               B.      Damages or other monetary relief, including, but not limited to, costs and

pre- and post-judgment interest, to Plaintiffs;

               C.      An order enjoining Natera and its officers, directors, agents, servants,

affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in active

concert therewith from further infringement of the ’497 patent and/or the ’652 patent;

               D.      Such further and other relief as this Court deems proper and just, including,

but not limited to, a determination that this is an exceptional case under 35 U.S.C. § 285 and an

award of attorneys’ fees and costs to Plaintiffs in this action.




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Dated: March 26, 2019              Respectfully submitted,

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